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8                                    UNITED STATES DISTRICT COURT
9                                NORTHERN DISTRICT OF CALIFORNIA
10                                             OAKLAND DIVISION
11   CALIFORNIA CRANE SCHOOL, INC.,                          Case No: 4:21-cv-10001 HSG
12   on behalf of itself and all others similarly
     situated
13                                                           PLAINTIFFS OPPOSITION TO
                             Plaintiff,                      DEFENDANTS MOTION TO COMPEL
14                                                           ARBITRATION; MEMORANDUM OF
     vs.                                                     POINTS AND AUTHORITIES IN SUPPORT
15                                                           THEREOF
     GOOGLE LLC, ALPHABET, INC., XXVI
16                                                           Hearing Date:   August 11, 2022
     HOLDINGS, INC., APPLE, INC., TIM
                                                             Time:           2:00 p.m.
17   COOK, SUNDAR PICHAI, and ERIC                           Place:          Courtroom 2
     SCHMIDT,                                                Judge:          Hon. Haywood S. Gilliam Jr.
18

19                            Defendants.

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            Plaintiffs respectfully submit this memorandum in support of their opposition to the
22

23   Google Defendants’ motion to compel arbitration.

24                                    PRELIMINARY STATEMENT

25          Defendants’ motion to compel arbitration should be denied. Arbitration is not
26
     permitted in this case because Plaintiffs’ Amended Complaint includes a specific claim for
27

28    Plaintiffs Opposition to Defendants Motion to Compel Arbitration; Memorandum of Points and Authorities in
                                                    Support Thereof
                                                         1
1    public injunctive relief that seeks to prevent Defendants’ future violations of law for the
2    benefit of the general public as a whole. See Hodges v. Comcast (cite)
3
                                                 ARGUMENT
4
             Section 2 of the Federal Arbitration Act (“FAA”) provides that “[a] written provision
5
     in . . . a contract . . . to settle by arbitration a controversy thereafter arising out of such contract
6

7    . . . shall be valid, irrevocable, and enforceable, save upon such grounds as exist at law or in

8    equity for the revocation of any contract.” 9 U.S.C. § 2. The final clause of § 2—the “saving

9    clause”—confirms that arbitration agreements, like any other contract, can be invalidated on
10   generally applicable grounds “for the revocation of any contract.” 9 U.S.C. § 2. See also
11
     Hodges v. Comcast, 12 F. 4th 1108 (9th Cir. 2021). This case involves one such ground for
12
     contractual invalidation under California law.
13
             Since Plaintiffs’ Amended Complaint seeks “public injunctive relief” as one of its
14

15   requested remedies, the complaint implicates the “McGill Rule.” Under that rule, a

16   contractual provision “purports to waive [a party’s] right to request in any forum . . . public

17   injunctive relief, it is invalid and unenforceable under California law.” See Hodges v. Comcast
18
     12 F. 4th 1108 (9th Cir. 2021), citing McGill v. Citibank, N.A., 393 P.3d 85, 94 (Cal. 2007).
19
             In Hodges, the Court of Appeals for the Nineth Circuit held that the applicability of the
20
     McGill rule depends upon whether a complaint includes a claim for public injunctive relief.
21
     Taking into account Blair v. Rent-A-Center, Inc., 928 F.3d 819 (9th Cir. 2019) (holding that
22

23   the Federal Arbitration Act does not preempt the McGill rule), the court panel held that, under

24   California law, non-waivable public injunctive relief is limited to forward-looking injunctions
25   that seek to prevent future violations of law for the benefit of the general public as a whole, as
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28    Plaintiffs Opposition to Defendants Motion to Compel Arbitration; Memorandum of Points and Authorities in
                                                    Support Thereof
                                                         2
1    opposed to a particular class of persons, and that do so without the need to consider the
2    individual claims of any non-party.
3
            In this case, Plaintiffs’ First Amended Complaint (ECF 39) seeks “Forward-Looking
4
     Public Injunctive Relief for the General Public as a Whole” as follows:
5
            162.    For the benefit of the general public as a whole, it is requested that the Court:
6                   a. Enjoin Defendants from future agreements that Apple not compete with
7           Google in the search business and to divide the search business, from future
            agreements to share or pool profits, from future agreements to provide Google with
8           exclusive search privileges on Apple devices and from future agreements to meet for
            the purpose of discussing anticompetitive conduct;
9                   b. Enjoin and prohibit Defendant Cook and Defendant Pichai from
            making future agreements that Apple not compete with Google in the search business
10          and to divide the search business, from making future agreements for Google to share
11          or pool profits with Apple, from making future agreements to provide Google with
            exclusive search privileges on Apple devices and from making future agreements to
12          meet for the purpose of discussing such anticompetitive conduct.

13          See, Plaintiffs’ First Amended Complaint, ¶162.
14

15          Under the above legal standard, Plaintiffs’ complaint clearly seeks public injunctive

16   relief. Accordingly, the McGill rule is implicated, and the arbitration agreement should not be

17   enforced. Therefore, Defendants’ motion should be denied.
18

19   Dated: April 1, 2022                         ALIOTO LAW FIRM

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22                                          By: /s/ Joseph M. Alioto
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28    Plaintiffs Opposition to Defendants Motion to Compel Arbitration; Memorandum of Points and Authorities in
                                                    Support Thereof
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28    Plaintiffs Opposition to Defendants Motion to Compel Arbitration; Memorandum of Points and Authorities in
                                                    Support Thereof
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